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 1                                                                HONORABLE RONALD B. LEIGHTON
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 8                                    UNITED STATES DISTRICT COURT
                                     WESTERN DISTRICT OF WASHINGTON
 9                                             AT TACOMA
10     UNITED STATES OF AMERICA,
11                                                        Case No. CR05-5747 RBL
                               Plaintiff,
12                     v.                                 ORDER
13     STACY CHARLES COMER,
14                             Defendant.
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17          THIS MATTER comes on before the above-entitled Court upon Defendant Comer’s Motion for an

18   Order Requiring the Government to Produce Complaining Witness [Dkt. #59].

19          Having considered the entirety of the records and file herein, the Court finds and rules as follows:

20          Defendant Stacy Charles Comer is charged by way of a Superseding Indictment along with two co-

21   defendants with Retaliating Against a Witness in Violation of 18 U.S.C. §§ 1513(b)(2) and 2. Comer has

22   moved for an order requiring the government to produce the complaining witness, Curtis Wild, for an interview

23   by his counsel. According to the motion and the government’s response, Mr. Wild was initially agreeable to

24   being interviewed, however, he has since changed his position based upon his contact with a co-defendant’s

25   investigator and now declines to be interviewed by the defense. Witnesses have the right to refuse to be

26   interviewed, United States v. Black, 767 F.2d 1334, 1337-38 (9th Cir.), cert. denied, 434 U.S. 954 (1977), and

27   so long as the government has not interfered with the defendant’s access to the witness, this Court may not

28   order the witness to consent to a defense interview. Id. It is therefore


     ORDER
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 1             ORDERED that Defendant Comer’s Motion for an Order Requiring the Government to Produce
 2   Complaining Witness [Dkt. #59] is DENIED.
 3             The Clerk shall send uncertified copies of this order to all counsel of record, and to any party appearing
 4   pro se.
 5             Dated this 21st day of February, 2006.


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                                               RONALD B. LEIGHTON
 8                                             UNITED STATES DISTRICT JUDGE
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     ORDER
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